Case 3:20-cv-00009-NKM Document 35 Filed 09/15/22 Page 1 of 7 Pageid#: 729




               UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF VIRGINIA
                    CHARLOTTESVILLE DIVISION


   “Baby L.,” a minor, et al.,

                  Plaintiffs,

   v.                                                         CASE NO. 3:20-CV-9

   Dr. MARK ESPER, in his official capacity as
         Secretary for the U.S. Department of Defense
         et al.,

                  Defendants.



               ORDER MODIFYING PSEUDONYM & SEALING ORDERS

         Defendants have filed a motion to modify the Court’s pseudonym and sealing

  orders in this case. Dkt. 34. Defendants provided to the Court a memorandum in support

  of their motion, pending decision that it could be filed on the Court public docket, which

  they also provided to Plaintiffs. Plaintiffs submitted to the Court a ten-page “preliminary”

  response opposing Defendants’ motion, including several attachments. Considering that

  the parties have availed themselves of the opportunity to submit their positions on the

  matter; and finding that the narrow subject of Defendants’ motion sufficiently briefed and

  presented for resolution; and that oral argument would not further the decisional process,

  the Court will proceed to rule on Defendants’ motion. 1 The motion is granted.




         1
            For these reasons and the reasons that follow, the Court’s decision need not
  await Plaintiffs so they may provide another filing in opposition to Defendants’ motion,
  nor will the Court hold an evidentiary hearing on Defendants’ motion as Plaintiffs had
  requested. Fed. R. Civ. P. 78(b); W.D. Va. Civ. R. 11(b).

                                               1
Case 3:20-cv-00009-NKM Document 35 Filed 09/15/22 Page 2 of 7 Pageid#: 730




          Following a lengthy and iterative process involving collaborative discussions

  between the parties, the Court entered orders unsealing numerous filings in this case (or

  filing public, redacted versions), while stating the grounds and findings that supported the

  continued sealing of particular filings and exhibits. Dkt. 28 (“Sealing Decision”); see also

  Dkts. 23, 30, 32 (further orders). Ultimately, there was little if any disagreement between

  the parties about what filings or subjects should remain sealed and filed only in redacted

  form. See Dkts. 27, 29 (parties’ joint submissions of proposed redactions). Considering

  whether less restricted alternatives would suffice, this Court ordered use of pseudonyms

  and continued sealing of specific documents or portions of documents to, among other

  things, protect the privacy of a minor child (including documents that contained detailed

  sensitive medical information), and in view of the health and safety concerns had been

  shown in the event of disclosure. See Sealing Decision at 2–7.

          Defendants’ motion now pending before the Court—entitled “Defendants’ Motion

  to Modify Pseudonym and Sealing Orders to Allow Sharing of Information with Other

  Courts; Request for Expedited Consideration”—is limited in scope and tailored in the

  nature of its request. Dkt. 34. Indeed, it does not ask for that the Court revisit its decision

  to seal any of the materials previously filed under seal. Rather, Defendants ask that this

  Court modify its prior sealing orders (inc. Dkts. 28, 30), so that Defendants may share

  and reference certain specified information in other judicial proceedings that involve the

  Baby L where Plaintiffs are parties. Defendants seek leave to share and reference the

  following information in those proceedings: Plaintiffs’ identities; the fact that the same

  child was at issue; the name of the child’s home country and the foreign government to

  which she was transferred; and the name of the state Plaintiffs resided in at the time of



                                                 2
Case 3:20-cv-00009-NKM Document 35 Filed 09/15/22 Page 3 of 7 Pageid#: 731




  this suit. See Defs’ Brief at 10. 2 Defendants also request leave to seek and obtain certified

  copies of sealed records in this proceeding from the Clerk of Court; and that the United

  States be permitted to provide certified or uncertified records from this proceeding to the

  courts and parties in such other judicial proceedings, provided that the United States

  submits such information under seal in those other proceedings. Id. at 10–11.

         Defendants have filed their motion pursuant to this District’s Local Rule 9(b),

  which provides for the filing of “a motion to unseal a document previously sealed.” W.D.

  Va. Gen. R. 9(b)(4). See Dkt. 34. In balancing the presumption of access to judicial

  records against reasons as would warrant sealing, courts have considered various factors

  in weighing a request to unseal, including: “(1) whether the subject matter is traditionally

  considered private; (2) the injury the resisting party would suffer if the privacy interest

  were not protected; (3) whether the person seeking unsealing has an improper purpose;

  (4) whether the public already has access to the information in the sealed documents; and

  (5) whether release would enhance the public’s understanding of an important event.”

  RLI Ins. Co. v. Nexus Servs., Inc., No. 5:18-cv-66, 2020 WL 2616516, at *2 (W.D. Va.

  May 22, 2020) (citations omitted). The Court will address these factors in turn.

         The subject of certain sealed records in this case would be traditionally considered

  private, as they include information about a minor, including private medical information,

  as well as private information that, if made public, the Court found could create a risk to

  safety. Sealing Decision at 2. Significantly, however, Defendants have not sought to

  make public any of this information. Rather, they have sought to share it under seal in


         2
           Defendants’ brief and Plaintiffs’ opposition brief were submitted to the Court
  under temporary seal pending consideration of Defendants’ motion and whether there are
  any portions of the memoranda that should be redacted.

                                                3
Case 3:20-cv-00009-NKM Document 35 Filed 09/15/22 Page 4 of 7 Pageid#: 732




  other judicial proceedings, or in other proceedings that that are themselves under seal.

  Defs’ Br. at 7–8. In addition, Defendants are only seeking to share such information in

  other proceedings where Plaintiffs have already been named as parties. Id. at 7. Thus,

  while the subject matter would traditionally be considered private, Defendants are only

  seeking to share it with privacy safeguards in other appropriate fora. The factor weighs in

  favor of Defendants’ request.

         Next, the Court considers any “injury the resisting party would suffer if the

  privacy interest were not protected.” RLI Ins. Co., 2020 WL 2616516, at *2. To reiterate,

  Defendants’ request does not leave Plaintiffs’ interests unprotected, as if the information

  were going to be unsealed. And, having considered Plaintiffs’ ten-page opposition to

  Defendants’ motion, it fails to argue, much less substantiate, any injury that Plaintiffs

  would suffer if the Court were to modify the sealing and pseudonym orders as requested

  by Defendants. Nor could Plaintiffs reasonably argue that their privacy interests would be

  harmed if Defendants were able to apprise other judicial proceedings involving Plaintiffs

  and Baby L, about this case in a more fulsome manner.

         On the other side of the coin, Defendants have persuasively advanced their

  legitimate purposes underlying their request and explained how those interests would be

  prejudiced were this Court to not grant their request. See Defs’ Br. at 8–9; see also Doe v.

  Public Citizen, 749 F.3d 246, 273 (4th Cir. 2014) (citing “the risk of unfairness to the

  opposing party from allowing an action against it to proceed anonymously” as one factor

  relevant to the determination). Indeed, Defendants’ interest is substantiated by the fact

  that they have filed a Statement of Interest pursuant to 28 U.S.C. § 517 in one pending

  judicial proceeding, but assert that without the requested modification, they have not yet



                                                4
Case 3:20-cv-00009-NKM Document 35 Filed 09/15/22 Page 5 of 7 Pageid#: 733




  been at liberty to share “full information about the history of this matter.” Id. at 8–9. And

  Defendants further explained that, in their view, Plaintiffs have made representations in a

  pending judicial proceeding that mischaracterize the United States’ decision to transfer

  Baby L and the proceedings in this case and assert that the requested modification to this

  Court’s sealing orders is needed to address those purported mischaracterizations. Id. at 9.

  The Court finds Defendants’ interest in its requested modification of the Court’s sealing

  orders amply substantiated.

         In response, Plaintiffs argue at length about the “actual posture” of other litigation

  involving them and concerning Baby L. See Pls’ Resp. at 2–4. They also assert that they

  were forthright in those proceedings and did not make any misrepresentations, e.g., id. at

  2, and claim that Defendants or other parties were the ones to mischaracterize the posture

  of the other litigation, id. at 7. Strangely, Plaintiffs argue that abstention doctrines would

  warrant this court not “encroaching” on child custody matters at issue in state courts, id.

  at 4–5, but Plaintiffs’ response appears to invite this Court to litigate substantive issues

  on the merits not presently before the Court in this case, or on this motion. At bottom,

  Plaintiffs’ position only confirms the propriety of Defendants’ request. That is a tailored

  measure which could be undertaken—consistent with the demands of privacy ordered in

  this case—to ensure other courts addressing related disputes involving these parties be

  apprised of the substance and posture of this litigation. Plaintiffs have no reasonable

  argument why Defendants have an improper purpose in requesting that limited relief.

  This factor also weighs heavily in Defendants’ favor.

         The remaining factors as articulated in RLI Insurance have lesser significance

  here, as Defendants’ request is not a motion to unseal but a motion to modify the terms of



                                                 5
Case 3:20-cv-00009-NKM Document 35 Filed 09/15/22 Page 6 of 7 Pageid#: 734




  the Court’s sealing orders so that they could share the information with other judicial

  proceedings. See RLI Ins. Co., 2020 WL 2616516, at *2. But those factors and other

  significant interests also cut in favor of the Defendants’ request. That is, aside from

  Defendants’ and the United States’ interest in ensuring greater transparency in such other

  judicial proceedings involving these Plaintiffs and Baby L, those other courts also have a

  significant interest in having a more fulsome understanding of any relevant procedural

  history and the posture and nature of this case.

             In sum, all factors weigh heavily in Defendants’ favor, and Plaintiffs have

  identified no valid reason why any aspect of this case should be shielded from the other

  pending judicial proceedings, even if the filings or representations were made there under

  seal. Accordingly, having reviewed Defendants’ Motion to Modify Pseudonym and

  Sealing Orders to Allow Sharing of Information with Other Courts, and for good cause

  shown, the Court GRANTS Defendants’ Motion. Dkt. 34.

             It is hereby ORDERED that, notwithstanding other orders issued in this case,

  Defendants may share and reference Plaintiffs’ identities and the fact that the same child

  was at issue, as well as the name of the child’s home country and the foreign government

  to whom she was transferred, and the name of the state where Plaintiffs resided at the

  time of this suit, in other judicial proceedings involving the child where Plaintiffs are

  parties.

             It is further ORDERED that Defendants may also seek and obtain certified copies

  of sealed records in this proceeding from the clerk of court; and the United States may

  provide certified or uncertified copies of sealed records in this proceeding to the court




                                                  6
Case 3:20-cv-00009-NKM Document 35 Filed 09/15/22 Page 7 of 7 Pageid#: 735




  and parties in other such judicial proceedings, provided that such information is

  submitted under seal.

         It is so ORDERED.

         The Clerk of Court is directed to send this Order to all counsel of record.

         ENTERED this 15th
                      ____ day of September, 2022.




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